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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MELISA WILLIAMS                                  :
                                                 :
               Plaintiff                         :   JURY TRIAL DEMANDED
vs.                                              :
                                                 :
SHEETZ INC.                                      :
                                                 :          NO.
               Defendant                         :

                                          COMPLAINT

       The Plaintiff, Melisa Williams, by and through his attorneys, Anzalone Law Offices,

LLC, hereby complains against the Defendant, Sheetz Inc., averring in support thereof as

follows:

                                          THE PARTIES

       1.      The Plaintiff, Melisa Williams, is an adult individual who resides at 108 Moore

Ave, Colonial Heights, Virginia 23834.

       2.      The Defendant, Sheetz, Inc., hereinafter referred to as "Sheetz", is a Pennsylvania

corporation with its principle office located at 5700 Sixth Avenue, Altoona, Pennsylvania 16602,

and is a citizen of the State of Pennsylvania.

       3.      The Defendant, Sheetz Stores, Inc., maintains significant contacts and regularly

and continually conducts business in the Middle District of Pennsylvania, thereby making venue

appropriate pursuant to 28 U.S.C.A. Section 139l(a).

       4.      The amount in controversy herein, exclusive of interest and costs, is in excess of

the amount of seventy-five thousand dollars ($75,000.00) and the jurisdiction of this Court is

based upon the diversity of citizenship, 28 U.S.C. Section 1332.
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       5.      At all times relevant hereto, the Defendant, Sheetz, was in possession and control

of a store located at 464 Wilkes-Barre Township Boulevard, Wilkes-Barre, Luzerne County,

Pennsylvania 18702.

                                JURISDICTION AND VENUE

       6.      This Court has jurisdiction over the Defendant, Sheetz, because the Defendant,

Sheetz, maintains significant contacts in the Middle District of Pennsylvania, and it continually

and regularly conducts business in multiple counties in the Middle District of Pennsylvania

thereby making venue in the Middle District of Pennsylvania proper pursuant to 28 U.S.C.A. §

1391(a).

       7.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332(a) because complete diversity of citizenship exists between the parties, and the

amount in controversy exceeds $75,000.00, exclusive of interest and costs.

       8.      Additionally, venue is proper in the Middle District pursuant to 28 U.S.C.A. §

1391(b)(2) because the accident giving rise to this suit occurred in Pittston, Luzerne County,

which is in the Middle District of Pennsylvania.

                                             FACTS

       9.      On September 18, 2021, the aforementioned Sheetz store location was open to the

public and the Plaintiff, Melisa Williams, was a business invitee.

       10.     On the aforementioned date, the Plaintiff, Melisa Williams, was a business invitee

at the Sheetz, to use the automated teller machine.

       11.     The Plaintiff, Melisa Williams, began to walk towards the lottery machine past

the soda fountain station.
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          12.      At that time, the Plaintiff, Melisa Williams, suddenly and without warning,

slipped on fluid that was either dripping from the machine or had been spilled near it.

          13.      At all times material hereto, the Defendant, Sheetz, failed to ensure that its

premises was free of hazards; failed to place mats down; failed to clean up liquid; failed to

provide warning signs indicating to the public that the floor was slippery; and, otherwise gave no

indication that this was a hazard that could cause the Plaintiff, Melisa Williams, to fall and

sustain her injuries.

          14.      As a result of the Plaintiffs, Melisa Williams's, sudden fall, she sustained injuries

that include but are not limited to the following:

                (a) Right foot injury; and

                (b) Left knee injury;

          15.      As a result of the aforementioned injuries, the Plaintiff, Melisa Williams has

treated with and incurred medical bills from numerous medical care providers, and a specific

amount will be produced in the course of discovery and a claim for same is hereby made.

          16.      The Plaintiff, Melisa Williams, has been informed, believes and therefore avers

that her injuries are permanent in nature and will require future medical care and treatment and a

claim for same is hereby made.

          17.      As a further result of the injuries sustained in this incident, the Plaintiff, Melisa

Williams, was rendered sick, sore, disabled and sustained severe physical and mental pain as

well as great discomfort, all of which required medical care and treatment as previously stated

herein.
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       18.     As a result of the aforementioned injuries and negligence of the Defendant,

Sheetz, the Plaintiff, Melisa Williams, has sustained and will continue to sustain a loss of

everyday pleasures and enjoyments of life, and a claim for same is hereby made.

       19.     As a further result of the aforementioned injuries, the Plaintiff, Melisa Williams,

has been unable to perform her activities of daily living and believes and therefore avers that she

will be unable to perform these activities of daily living for an indefinite time into the future.

       WHEREFORE, the Plaintiff, Melisa Williams, hereby demands judgment in her favor

and against the Defendant, Sheetz, Inc., in an amount in excess of seventy-five thousand

($75,000.00) dollars.

                                              COUNT I

                                      MELISA WILLIAMS

                                                 vs.

                                            SHEETZ, INC.

       20.     The Plaintiff incorporates herein by reference Paragraphs I through 19 as though

the same were set forth herein at length.

       21.     At all times relevant herein, the Defendant, Sheetz, and its employees and/or

agents were acting within the course and scope of their employment and/or agency, and had a

responsibility and/or duty to maintain the premises of the Sheetz, including making sure that the

vestibule, walkways and entryways and exits were clear of obstruction and hazards and to ensure

that the same were safe for invitees, including the Plaintiff herein, Melisa Williams.
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       22.      The carelessness and negligence of the Defendant, Sheetz, its employees and/or

agents acting within the course and scope of their employment and/or agency, specifically at the

premises of Sheetz located at 464 Wilkes-Barre Township Boulevard, Wilkes-Barre,

Pennsylvania, with said negligence and carelessness consisting of the following:

             (a) In then and there failing to properly inspect and maintain the premises, including

                vestibule, walkways and floors;

             (b) In then and there failing to keep the premises in a reasonably safe condition for

                the uses intended;

             (c) In then and there failing to remedy a dangerous condition or warn its invitees,

                including the Plaintiff, Melisa Williams, of the dangerous condition that the

                Defendant knew or should have known existed;

             (d) In then and there failing to keep the premises in a reasonably safe condition for its

                invitees;

             (e) In then and there disregarding the rights and safety of the Plaintiff, Melisa

                Williams, and any and all other persons who were lawfully upon the property;

             (f) In then and there failing to implement and carry out safe maintenance policies and

                procedures designed to protect its customers from dangerous and hazardous

                conditions;

             (g) In then and there failing to use signage to advise invitees, including the Plaintiff,

                Melisa Williams, of any unsafe conditions in the store; and,

             (h) In then and there failing to otherwise warn invitees of the dangerous condition.
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       WHEREFORE, the Plaintiff, Melisa Williams, hereby demands judgment in her favor

and against the Defendant, Sheetz, Inc., in an amount in excess of seventy-five thousand

($75,000.00) dollars.

                                                    Respectfully submitted,

                                                    ANZALONE LAW OFFICES, LLC

                                                     /s/ Jamie Joseph Anzalone
                                                    JAMIE JOSEPH ANZALONE, ESQUIRE
                                                    I.D. NO 202764
                                                    KELLY M. CIRAVOLO, ESQUIRE
                                                    I.D. NO 200565
                                                    98 S Franklin Street
                                                    Wilkes-Barre, PA 18701
                                                    Attorneys for Plaintiff
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                                    VERIFICATION


       I, Melisa Williams, Plaintiff herein, certify that the statements contained in the

foregoing Complaint are true and correct and are made subject to the penalties of 18 Pa.

C.S.A. Section 4904, relating to unsworn falsification to authorities.



                                              ___________________________________
                                              MELISA WILLIAMS
